
42 So. 3d 342 (2010)
Edgardo COLORADO, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-576.
District Court of Appeal of Florida, Fifth District.
August 20, 2010.
*343 James S. Purdy, Public Defender, and Anne Moorman Reeves, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Ann M. Phillips, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
We affirm Appellant's conviction. Salonko v. State, ___ So.3d ___ (Fla. 1st DCA 2010). Based upon the State's proper concession, we remand the judgment with instructions that the trial judge correct the judgment to conform to his oral pronouncement to impose costs and fines by civil judgment and not as a special condition of probation.
AFFIRMED AND REMANDED.
ORFINGER, TORPY and LAWSON, JJ., concur.
